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                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MASSACHUSETTS




                                   CHAPTER 13 PLAN COVER SHEET


Filing Date: September 28,2011                       Docket#:   1]-19152

Debtor: Linda B. Wood-Boyle                          Co-Debtor: Douglas R. Wood-Boyle


SS#:   XXX-XX-6285                                   SS#: XXX-XX-9625


Address: 61 Victory Road, Unit 3                     Address
                                                           \\   II
Dorchester, MA 02122




Debtor's Counsel: Jeffrey M. Frankel. Esq.

40 Willard Street, Suite] 01

Quincy, MA 02169

Telephone #: (617) 302-4321

Facsimile#: 1617)481-0756

ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN
THIS CASE. THIS PLAN SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF
CREDITORS. THE CLAIMS ARE SET FORTH IN THE BANKRUPTCY SCHEDULES FILED BY
DEBTOR(S) WITH THE BANKRUPTCY COURT.

YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE
SCHEDULED CREDITORS' MEETING PURSUANT TO 11 U.S.c. . 341. THAT NOTICE WILL
ALSO ESTABLISH THE BAR DATE FOR FILING PROOFS OF CLAIMS.

PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL
FIVE DA YS* AFTER THE SECTION 341 MEETING TO FILE AN OBJECTION TO
CONFIRMA TION OF THE CHAPTER 13 PLAN, WHICH OBJECTION MUST BE SERVED ON THE
DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.
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                                 UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MASSACHUSETTS
                                         EASTERN DISTRICT

                                                CHAPTER 13 PLAN

                                                                           Docket #11-19152

DEBTORS:            (D) Linda B. Wood-Boyle                                SS# XXX-XX-3133
                    (D) Douglas R. Wood-Boyle                              SS# XXX-XX-9625

L       PLAN PAYMENT:                 Debtor(s) to pay monthly to the Trustee the sum of $155.00 for
the term of:

D 36 Months.                 11 USC § 1325 (b)(4)(A)(i)
X 60 Months.                 11 USC §1325 (b)(4)(A)(ii)
  60 Months.                 11 USC § 1322 (d)(2)
D       Months               The Debtor states as reasons therefore:
                                                                           -------------------
II.       SECURED CLAIMS:

         A. CLAIMS TO BE PAID THROUGH THE PLAN (INCLUDING ARREARS):

         Creditor                              Description of claim (pre-petition      Amount of claim
                                               arrears, purchase money, etc.)

         BAC Home Loans Svc                    First Mortgage
         PO Box 650070                         Pre-petition arrears                    $ 8,400.00
         Dallas, TX

                    Total of secured claims to be paid through the Plan:               $ 8,400.00

          B. CLAIMS TO BE PAID DIRECTLY TO CREDITORS (Not through Plan)

         Creditor                              Description of claim (pre-petition
                                               arrears, purchase money, etc.)

         Bank of America                       post-petition mortgage pmts
         PO Box 660694                         1st Mortgage
         Dallas, TX 75266
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         C. Modification of Secured Claims:

          I.      Second mortgage on 61 Victory Road, Dorchester, MA, to Bank of America is avoided in its
entirety as wholly unsecured. No payments forthcoming. Recording of the this Chapter 13 Plan, Confirmation Order
and Discharge shall serve to discharge of record the second mortgage to Countrywide Home Loans, Inc. and
Mortgage Electronic Registrations Systems, Inc. recorded at the Suffolk County Registry of Deeds in Book 43203,
Page 277.

         D. Leases

                    i.       Chase Auto Lease Payments to be maintained post-petition.

III. PRIORITY CLAIMS

         A.         Domestic Support Obligations:

                    None

         B.         Other:

         Creditor                               Description of claim                     Amount of claim

         None


                    Total of priority claims to be paid through the Plan:                $8,931.81


IV. ADMINISTRATIVE CLAIMS


   A.    Attorneys fees                                                                  $     0.00
         (to be paid through the plan during the first 12 months of the plan).

   B.    Miscellaneous fees:

         Creditor                               Description of claim                     Amount of claim

                                                                                         $ None


   C.   The Chapter 13 Trustee's fee is determined by Order of the United states Attorney General. The
        calculation of the Plan payments set forth utilizes a 10% Trustee's commission.



IV. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of

   A.   General unsecured claims:                                                $ 86,039.19

   B.   Undersecured claims arising after lien avoidance/cramdown:

        Creditor                      Description of Claim                       Amount of Claim

        Bank of America               Unsecured 2 nd Mtg                         $ 50,998.28
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      C.   Non-Dischargeable Unsecured Claims (Not through Plan):

           Sallie Mae                                                                 $    9,470.00

           Total of Unsecured Claims (A+B+C):                                         $ 146,507.47


      D.   MUltiply total by percentage of dividend:                                  $ _-",0=.00",-­

      E.   Separately classified unsecured claims (co-borrower/student loans, etc.)


           Total amount of separately classified claims payable at " _ _ __           $           0.00


V. OTHER PROVISIONS

           A.       Liquidation of assets to be used to fund plan:             None.

       B.       Modification of Secured Claims: Set forth details of modifications below or on
attached sheets. This information should include name of creditor and detailed explanation of
the modification. The total amount of the secured claim that is to be paid through the plan
(exclusive of interest) should be set forth in Section I of this Plan.

           Unsecured second mortgage to Bank of America is avoided as described in Section II C
above.

      C.    Miscellaneous provisions:    Time Share located at InnSeason Resorts Surfside,
Falmouth, MA is abandoned and surrendered.

VI. CALCULATION OF PLAN PAYMENT

a.   Secured claims (Section I-A Total):                                                $     8,350.00
b.   Priority claims (Section II Total):                                                +$ _---'0=.0=0
c.   Administrative claims (Section III A+B Total):                                     +$ _---'0=.0=0
d.   General unsecured claims (Section IV-C Total)                                      +$ _ _-",0.:. : :.0:.,: :.0
e.   Separately classified unsecured claims                                             +$ _ _-"0-,-, .0,-, -0
f.   Total of (a) through (e) above:                                                    =$ 8,350.00
g.   Divide (f) by .90 for total including
     Trustee's fee: $ 9327.78                                  Cost of Plan             =$ 9,277.78
                                      (This represents the total amount to be paid into the chapter 13 plan)

h. Divide (g) Cost of Plan by Term of Plan:                                                              ~months


i. Round up to nearest dollar:                                            Monthly Plan Payment:          $155.00

Pursuant to II U.S.c. ss 1326(a)( I), unless the Court orders otherwise, a debtor shall commence making the
payments proposed by a plan within thirty (30) days after the plan is filed. Pursuant to II USC 1326(a)(1 )(C), the
Debtor shall make pre-confirmation adequate protection payments directly to the secured creditor.



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                                           LIQUIDATION ANALYSIS
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I.       Real Estate:

         Address                        Fair Market Value              Recorded Liens
                                                                       (Schedule D)

         61 Victory Road, Unit 3
         Dorchester, MA                 228,900.00                     $281,189.l5

         Timeshare
         InnSeason Resorts Surfside     unknown-less than $2000        $ 2094.02 (common
                                                                       Charges)

         Total Net Equity for Real Property: $         0.00
         Less Exemptions:(Schedule C)        $         0.00
         Available Chapter 7: $        0.00


II.      Automobile (Describe year, make and model):



         Net Value of Equity:                   $    0.00
         Less Exemptions (Schedule C):          $    0.00
         Available Chapter 7:                   $    0.00

III.     All other Assets (All remaining items listed on Schedule B):
         (Itemize as necessary)

                                        Value          Liens           Exemption Available
                                                                                 Ch 7
A.       Checking/Sav Accounts          $ 2,955.78 $ 0.00          $ 2,955.78    $     0.00
B.       Clothing                       $     800.00 $ 0.00        $ 800.00      $     0.00
C.       Household Furnishings          $ 3,000.00 $ 0.00          $ 3,000.00    $     0.00
D.       Jewelry                        $ 1,000.00 $ 0.00          $ 1,000.00    $     0.00
E.       Cash Surrender Life Ins.       $ 3,847.25 $ 0.00          $ 3,847.25    $     0.00
F.       IRA                            $ 4,069.22 $ 0.00          $ 4,069.22    $     0.00
G.       PIA Pensionl401K Plan          $ 12,841.30 $ 0.00         $12,841.30    $     0.00
H.       TIA CREFF Pension              $ 33,765.84 $ 0.00         $33,765.84    $     0.00
         Value: $ 62,279.39             Less Exemptions (Schedule C):     $62,279.39

                                                Available Chapter 7:                   $ 0.00

SUMMARY (Total amount available under Chapter 7): $0.00

Pursuant to the Chapter 13 rules, the debtor or his or her counsel is required to serve a copy of
the Plan upon the Chapter 13 Trustee, all creditors and interested parties, and to file a certificate
of service accordingly.
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        (617) 628-~505

        I, WE DF.:CLARE UNDER THE PE'NALTIBS OF PER,TU\{Y THAT THE FOREGOING
        REPRESENTATIONS OF FACT ARE TRUE AN D COrtRECT 1'0 THE BEST OF OUR
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         Linda 8. Wood-BOYle

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      Douglas R.. W(H.'Id·Boyle
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                                  SiATEME:NTPURSUANTTO 11 U-S.C.1322(d)

              The Debtor hereby states that a review oftheir ft()u..~ehol(l income as compared to CUITf.lnt
        monthly expenses indicatos that the avail$ble net disposal income is 'insufficient t() complete a
        phm without the benefit of n sixty (60) month time frame.
